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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division


THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF
NEW YORK,

                       Plaintiff,

       V.                                                       Civil Action No. 3:13cv808


GEN DIGITAL INC.,
f/k/a SYMANTEC CORPORATION,
f/Ii/a NORTONLIFELOCK, INC.,

                       Defendant.
                                               ORDER


       For the reasons stated in the accompanying Memorandum Opinion, the Court GRANTS

the Motion for Enhanced Damages Under 35 U.S.C. Section 284, (ECF No. 1252), and the

Motion for Attorney Fees Under 35 U.S.C. Section 285, (ECF No. 1260).

       The Court ORDERS that the juiy's award of $185,112,727.00 be enhanced 2.6 times to a

total of $481,293,090.00. The Court further ORDERS that Norton pay attorneys' fees

reasonably related to the post-remand litigation misconduct identified in the accompany

Memorandum Opinion. Finally, the Couit ORDERS the parties to meet and confer in good faith

within 30 days from the date of this Order in an effort to reach a stipulation on the fee award. In

the event the parties cannot reach a stipulation on this issue, the parties may file an appropriate

fee petition to resolve any further dispute.

         It is SO ORDERED.



 Date: September 30, 2023                                           M. Hanna   m?:
 Richmond, Virginia                                                United State   DirtrnrfJudge
